

Per curiam.

The objection may be now i»Vsn, and it is fatal; Where there are two r,;”tn'-'"s and one only ;ued, he ,&lt;(y :-iy,¡ yo 1 :-.;ntracted also vra a’v. her, vd-i\ i-.y í!k «-ovo ’ ■ . '-1'.:!. : vim me to con-vibu.e : ; of h •. . 'U dies, and the whole deb. • irviv- : iV- '• . ,« excutors of the deceased ate not iiaide* al!, yon e; -«not make them so by suing them ; then shewing in evidence that there is a surviving partner, proves them not liable to the contract, and consequently not to a reeovery in the action.
